            Case 1:02-cv-06385-AWI-GSA Document 227 Filed 04/09/10 Page 1 of 2


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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                                EASTERN DISTRICT OF CALIFORNIA
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10      MARIA TORRES and MELCHOR            )               1:02-CV-6385 AWI LJO
        TORRES, individually and as         )
11      Administrators of the Estate of     )               ORDER STAYING ACTION AND
        EVERARDO TORRES,                    )               VACATING TRIAL DATE IN LIGHT
12                                          )               OF PENDING APPEAL
                          Plaintiffs,       )
13                                          )
              v.                            )
14                                          )
        CITY OF MADERA, et al.,             )
15                                          )
                          Defendants.       )
16      ___________________________________ )
17
18           This action arises from an incident in which Officer Marcy Noriega (“Officer Noriega”)
19   shot and killed Everardo Torres (“Everardo”).     Everardo’s estate and family (“Plaintiffs”) have
20   sued Officer Noriega and the City of Madera (“Defendants”) under 42 U.S.C. § 1983 and state
21   law.
22           On November 18, 2009, the court issued a memorandum opinion and order granting
23   Plaintiffs’ request for judgment pursuant to Rule 54(b) on Plaintiff’s civil rights claim.
24           Plaintiffs have filed a notice of appeal with the Ninth Circuit Court of Appeals and the
25   Ninth Circuit has set a briefing schedule.
26           A review of the court’s docket reveals that this action remains set for a pretrial conference
27   to be heard on April 15, 2010 and trial to begin on May 25, 2010.
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           Case 1:02-cv-06385-AWI-GSA Document 227 Filed 04/09/10 Page 2 of 2


 1          In light of Plaintiffs’ pending appeal, the court finds good cause to vacate the trial and
 2   other pretrial dates and deadlines. Because the length of the appeal is unknown, the court
 3   declines to set a new trial date at this time. After the appeal has been resolved, the parties shall
 4   notify the court, and the court will re-schedule this action.
 5          Accordingly, the court ORDERS that:
 6          1.      The trial date, pretrial conference date, and all other previously set deadlines are
 7                  VACATED;
 8          2.      This action is HEREBY STAYED to allow Plaintiffs’ appeal to be heard by the
 9                  Ninth Circuit;
10          3.      Within ten days of any ruling by the Ninth Circuit, Plaintiffs are DIRECTED to
11                  inform the court about the status of this case; and
12          4.      Within fifteen days of any final ruling by the Ninth Circuit, the parties SHALL
13                  FILE a request to lift the stay, a status report regarding this action, and a request
14                  for a scheduling conference date.
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16   IT IS SO ORDERED.
17   Dated:      April 9, 2010                          /s/ Anthony W. Ishii
     0m8i78                                    CHIEF UNITED STATES DISTRICT JUDGE
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